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           ORDERED in the Southern District of Florida on June 3, 2020.




                                                         Laurel M. Isicoff
                                                         Chief United States Bankruptcy Judge
___________________________________________________________________________


                                    UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                              MIAMI DIVISION

           In re:                                                 Case No. 18-16314-LMI

           LA CAPITAL DE LA FRUTA I, INC.,
                                                                  Chapter 7
                Debtor.
           ____________________________________/
           DREW M. DILLWORTH AS CHAPTER 7
           TRUSTEE,

                    Plaintiff,                                    Adv. Pro. No.19-01800-LMI
           -vs-

           A.M.L.L. CORPORATION,
           d/b/a Antonio Pena Distributors,

                Defendant.
           ____________________________________/


                                 AGREED ORDER OF DISMISSAL (SETTLEMENT)


                    This matter came on before the Court for consideration of a voluntary dismissal

           based upon settlement between the parties (Trustee and Defendant) and the Court,
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having reviewed the file and noting the agreement to dismissal based upon the

submission of this Agreed Order by Trustee’s Counsel and the yet-to-be-filed motion to

approve same in the parent case, and finding good cause shown, does

      ORDER:

             1.           That the instant adversary proceeding is dismissed based

                          upon the settlement between the parties, and the Clerk of

                          the Court is directed to close this adversary proceeding.

             2.           This Court reserves jurisdiction to reinstate this Adversary

                          proceeding or enforce the settlement should the settlement

                          not be approved or otherwise complied with.

             3.           Each party hereto shall bear their own fees and costs.

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Submitted by:
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      Luis R. Casas, Esq.
